Case 1:18-cv-00039-JTN-SJB ECF No. 145 filed 02/03/20 PageID.1696 Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                       No. 1:18-cv-00039-JTN-ESC
      Plaintiff,
                                       HON. JANET T. NEFF
v.
                                       MAG. SALLY J. BERENS
WOLVERINE WORLD WIDE, INC.,
                                       CERTIFICATE OF SERVICE
      Defendant.

and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                   /

WOLVERINE WORLD WIDE, INC.,

      Third-Party Plaintiff,

v.

3M Corporation,

      Third-Party Defendant.
                                   /
Case 1:18-cv-00039-JTN-SJB ECF No. 145 filed 02/03/20 PageID.1697 Page 2 of 4



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_____________________________________/
Case 1:18-cv-00039-JTN-SJB ECF No. 145 filed 02/03/20 PageID.1698 Page 3 of 4



                         CERTIFICATE OF SERVICE

     I hereby certify that on February 3, 2020, a copy of the Notice of Lodging of

Proposed Consent Decree and Proposed Consent Decree was via ECF/email upon:

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Case 1:18-cv-00039-JTN-SJB ECF No. 145 filed 02/03/20 PageID.1699 Page 4 of 4



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